                                           Case 1-23-43643-jmm                          Doc 79-3             Filed 11/24/23                Entered 11/24/23 03:35:58



Bank\ABA Account Name Account Number Branch Account Type Post       Transaction
                                                                              Transaction
                                                                                Type       Amount BAI Description        Detail                                                      Payee                 Purpose
21201383 SHOWFIELDS INC   5874067800        Checking     10/10/2023 DEBIT              ($2,141.42) WIRE OUT              202310100006838 TRINET HR III, INC                          TriNet                Payroll
21201383 SHOWFIELDS INC   5874067800        Checking     10/16/2023 CHECK              ($2,499.98) CHECK                                                                             Amazon Web Services   Software monthly subscription
21201383 SHOWFIELDS INC   5874067800        Checking     10/17/2023 DEBIT              ($1,715.55) ACCOUNT ANALYSIS FEE ANALYSIS ACTIVITY         FOR 09/23                          Valley Bank           Monthly bank fees
21201383 SHOWFIELDS INC   5874067800        Checking     10/17/2023 DEBIT                   ($1.27) ACCOUNT ANALYSIS FEE FEE BASED ACTIVITY        FOR 09/23                         Valley Bank           Monthly bank fees
21201383 SHOWFIELDS INC   5874067800        Checking     10/18/2023 DEBIT              ($1,500.00) WIRE OUT              202310180006496 SOFTWAREHUT LLC                             Software Hut          Software IT
21201383 SHOWFIELDS INC   5874067800        Checking     10/19/2023 DEBIT              ($3,000.00) TRANSFER OF FUNDS     REF 2921423L FUNDS TRANSFER TO DEP 3783232801 FROM Domestic transfer              Transfer to Showfields NY2
21201383 SHOWFIELDS INC   5874067800        Checking     10/19/2023 DEBIT              ($2,670.00) WIRE OUT              202310190015209 DESIGNTUBE LLC                              Designtube LLC        1099 Contractor
21201383 SHOWFIELDS INC   5874067800        Checking     10/19/2023 DEBIT                ($557.48) WIRE OUT              202310190014429 SHARIT BEN-ASHER                            Sharit Kassab         Employee - paid expenses on behalf of Showfields
21201383 SHOWFIELDS INC   5874067800        Checking     10/19/2023 DEBIT                ($200.00) WIRE OUT              202310190009604 SHOWFIELDS NY 1 LLC                         Domestic transfer     Transfer to Showfields NY1
21201383 SHOWFIELDS INC   5874067800        Checking     10/20/2023 DEBIT              ($3,710.00) WIRE OUT              202310200000498 85 D REALTY LLC                             85 D Realty LLC       Rent
21201383 SHOWFIELDS INC   5874067800        Checking     10/20/2023 DEBIT              ($1,270.84) ACH DEBIT             Doreen Edri   N2023-09-0    N2023-09-01Invoice no. N2023-09-01000000000000000
                                                                                                                                                                                     Doreen Edri           1099 Contractor
21201383 SHOWFIELDS INC   5874067800        Checking     10/23/2023 DEBIT              ($1,500.00) WIRE OUT              202310230007201 SOFTWAREHUT LLC                             Software Hut          Software IT
21201383 SHOWFIELDS INC   5874067800        Checking     10/23/2023 DEBIT                ($500.00) WIRE OUT              202310230013405 SHOWFIELDS NY 1 LLC                         Domestic transfer     Transfer to Showfields NY1
21201383 SHOWFIELDS INC   5874067800        Checking     10/24/2023 DEBIT              ($1,500.00) WIRE OUT              202310230012229 SOFTWAREHUT LLC                             Software Hut          Software IT
21201383 SHOWFIELDS INC   5874067800        Checking     10/24/2023 DEBIT                ($167.58) WIRE OUT              202310240006011 TRINET HR III, INC.       INVOICE 8652871 TriNet                  Payroll
21201383 SHOWFIELDS INC   5874067800        Checking     10/26/2023 DEBIT           ($103,693.88) WIRE OUT               202310260017299 TRINET HR III, INC.       0/27/22 FOR SHOWFITriNet                Payroll
21201383 SHOWFIELDS INC   5874067800        Checking     10/26/2023 DEBIT            ($19,975.97) WIRE OUT               202310260017337 TRINET HR III, INC.       0/27/22 FOR SHOWFITriNet                Payroll
21201383 SHOWFIELDS INC   5874067800        Checking     10/26/2023 DEBIT              ($1,285.00) WIRE OUT              202310260017604 CISION US INC.            US630924 1, US730Cision                 Marketing expense - PR
21201383 SHOWFIELDS INC   5874067800        Checking     10/26/2023 DEBIT                ($655.73) WIRE OUT              202310260007226 MARWA KHALEEL                               Marwa Khaleel         Employee - paid expenses on behalf of Showfields
21201383 SHOWFIELDS INC   5874067800        Checking     10/26/2023 DEBIT                ($113.39) WIRE OUT              202310260017104 85 D REALTY LLC           ET, #3B, NY NY    85 D Realty LLC       Cleaning
21201383 SHOWFIELDS INC   5874067800        Checking     10/30/2023 DEBIT              ($1,500.00) WIRE OUT              202310300001933 SOFTWAREHUT LLC                             Software Hut          Software IT
21201383 SHOWFIELDS INC   5874067800        Checking     10/31/2023 DEBIT              ($1,730.72) WIRE OUT              202310310016155 TAL ZVI NATHANEL                            Tal Nathanel          Travel expense reimbursement
21201383 SHOWFIELDS INC   5874067800        Checking     10/31/2023 DEBIT              ($1,299.40) WIRE OUT              202310310016007 MARWA KHALEEL                               Marwa Khaleel         Employee - paid expenses on behalf of Showfields
21201383 SHOWFIELDS INC   5874067800        Checking     10/31/2023 DEBIT              ($1,000.00) WIRE OUT              202310310001762 SOFTWAREHUT LLC                             Software Hut          Software IT
21201383 SHOWFIELDS INC   5874067800        Checking     10/31/2023 DEBIT                ($705.51) WIRE OUT              202310310018751 MARWA KHALEEL                               Marwa Khaleel         Employee - paid expenses on behalf of Showfields
21201383 SHOWFIELDS INC   5874067800        Checking     10/31/2023 DEBIT                ($656.17) WIRE OUT              202310310015904 C M H, INC. DBA CROPPMETCALFE       ICE 324214022
                                                                                                                                                                                     Croppmet              Repairs and maintenance

                                                                                      ($155,549.89)
                                                                                     Case 1-23-43643-jmm                                                                   Doc 79-3                               Filed 11/24/23                                            Entered 11/24/23 03:35:58



                                                                                                                   Month 1                                       Total Month 1                                    Month 2                                    Total Month 2                                      Month 3                                      Total Month 3                                             Total Month 3       14 Weeks Total

                                                                                         W1                   W2                 W3                 W4                                    W5                W6                W7                W8                                     W9                 W10                W11                W12                                    W13                W14
                                                       CASH SOURCES $                    110,754.44     $    129,504.44    $      6,888.44    $   129,104.44                        $   117,004.44     $   129,504.44   $      5,788.44    $   126,504.44                       $    116,604.44    $     128,504.44   $       7,188.44   $     127,904.44                       $     116,604.44   $     128,504.44
                                        Revenue from Management Fees
                                                        Other Income
                                                              Total Inflows $           110,754.44      $    129,504.44    $      6,888.44    $    129,104.44    $    376,251.77    $   117,004.44     $   129,504.44   $      5,788.44    $   126,504.44    $   378,801.77     $    116,604.44    $     128,504.44   $       7,188.44   $     127,904.44    $   380,201.77     $     116,604.44   $     128,504.44    $ 245,108.89    $     1,380,364.21

                                                              700000 Payroll
      -412,000.00      -250,000.00                            700001 Salary $            (55,000.00) $       (55,000.00) $      (55,000.00) $      (55,000.00)                      $    (55,000.00) $     (55,000.00) $     (55,000.00) $     (55,000.00)                      $     (55,000.00) $      (55,000.00) $      (55,000.00) $      (55,000.00)                      $     (55,000.00) $      (55,000.00)
      -38,000.00        -25,000.00                        700002 Payroll tax $            (6,250.00) $        (6,250.00) $       (6,250.00) $       (6,250.00)                      $     (6,250.00) $      (6,250.00) $      (6,250.00) $      (6,250.00)                      $      (6,250.00) $       (6,250.00) $       (6,250.00) $       (6,250.00)                      $      (6,250.00) $       (6,250.00)
      -30,273.75        -20,000.00   700003 Employer benefits contributions $             (5,000.00) $        (5,000.00) $       (5,000.00) $       (5,000.00)                      $     (5,000.00) $      (5,000.00) $      (5,000.00) $      (5,000.00)                      $      (5,000.00) $       (5,000.00) $       (5,000.00) $       (5,000.00)                      $      (5,000.00) $       (5,000.00)
       -7,200.00        -5,000.00                        700004 Payroll fees $            (1,250.00) $        (1,250.00) $       (1,250.00) $       (1,250.00)                  $         (1,250.00) $      (1,250.00) $      (1,250.00) $      (1,250.00)                  $          (1,250.00) $       (1,250.00) $       (1,250.00) $       (1,250.00)                  $          (1,250.00) $       (1,250.00)
      -11,935.23        -15,000.00                      700005 Commission $               (7,500.00) $        (7,500.00) $       (7,500.00) $       (7,500.00)                  $         (7,500.00) $      (7,500.00) $      (7,500.00) $      (7,500.00)                  $          (7,500.00) $       (7,500.00) $       (7,500.00) $       (7,500.00)                  $          (7,500.00) $       (7,500.00)
                                                          Total 700000 Payroll $         (75,000.00) $       (75,000.00) $      (75,000.00) $      (75,000.00)   $ (300,000.00) $        (75,000.00) $     (75,000.00) $     (75,000.00) $     (75,000.00)   $ (300,000.00) $         (75,000.00) $      (75,000.00) $      (75,000.00) $      (75,000.00)   $ (300,000.00) $         (75,000.00) $      (75,000.00)   $ (150,000.00) $        (1,050,000.00)


                                                                CASH USES
                                                  710000 Professional Services
       -3,500.00        -3,500.00                        710001 Legal Fixed $                 (875.00) $        (875.00) $         (875.00) $         (875.00)   $     (3,500.00) $         (875.00) $        (875.00) $        (875.00) $        (875.00)   $     (3,500.00)       -$875.00            -$875.00           -$875.00           -$875.00       $     (3,500.00)        -$875.00           -$875.00
       -9,892.33        -7,000.00                              710001 Legal $             (1,500.00) $        (1,500.00) $       (1,500.00) $       (1,500.00)   $     (6,000.00) $       (1,500.00) $      (1,500.00) $      (1,500.00) $      (1,500.00)   $     (6,000.00)       -$1,500.00         -$1,500.00         -$1,500.00         -$1,500.00      $     (6,000.00)       -$1,500.00         -$1,500.00
       -4,000.00        -2,000.00                710002 Accounting & Audit $                  (500.00) $        (500.00) $         (500.00) $         (500.00)   $     (2,000.00) $         (500.00) $        (500.00) $        (500.00) $        (500.00)   $     (2,000.00)       -$500.00            -$500.00           -$500.00           -$500.00       $     (2,000.00)        -$500.00           -$500.00
        -986.79           -750                                    710003 PR $                 (500.00) $        (500.00) $         (500.00) $         (500.00)   $     (2,000.00) $         (500.00) $        (500.00) $        (500.00) $        (500.00)   $     (2,000.00)       -$500.00            -$500.00           -$500.00           -$500.00       $     (2,000.00)        -$500.00           -$500.00
      -10,985.83        -4,000.00                       710004 Consultants $              (1,000.00) $        (1,000.00) $       (1,000.00) $       (1,000.00)   $     (4,000.00) $       (1,000.00) $      (1,000.00) $      (1,000.00) $      (1,000.00)   $     (4,000.00)       -$1,000.00         -$1,000.00         -$1,000.00         -$1,000.00      $     (4,000.00)       -$1,000.00         -$1,000.00
       -6,920.90        -2,500.00                        720000 Advertising $             (2,250.00) $        (2,250.00) $       (2,250.00) $       (2,250.00)   $     (9,000.00) $       (2,250.00) $      (2,250.00) $      (2,250.00) $      (2,250.00)   $     (9,000.00)       -$2,250.00         -$2,250.00         -$2,250.00         -$2,250.00      $     (9,000.00)       -$2,250.00         -$2,250.00
       -1,017.17        -4,000.00                              720001 Travel $            (1,000.00) $        (1,000.00) $       (1,000.00) $       (1,000.00)   $     (4,000.00) $       (1,000.00) $      (1,000.00) $      (1,000.00) $      (1,000.00)   $     (4,000.00)       -$1,000.00         -$1,000.00         -$1,000.00         -$1,000.00      $     (4,000.00)       -$1,000.00         -$1,000.00
       -2,556.19        -2,556.19                          720002 Bank fees $                 (639.05) $        (639.05) $         (639.05) $         (639.05)   $     (2,556.19) $         (639.05) $        (639.05) $        (639.05) $        (639.05)   $     (2,556.19)       -$639.05            -$639.05           -$639.05           -$639.05       $     (2,556.19)        -$639.05           -$639.05
      -31,848.47        -20,000.00                                               $        (5,000.00) $        (5,000.00) $       (5,000.00) $       (5,000.00)   $    (20,000.00) $       (5,000.00) $      (5,000.00) $      (5,000.00) $      (5,000.00)   $    (20,000.00)       -$5,000.00         -$5,000.00         -$5,000.00         -$5,000.00      $    (20,000.00)       -$5,000.00         -$5,000.00
        -191.02          -191.02                     720004 Office Supplies $                  (47.76) $         (47.76) $          (47.76) $          (47.76)   $       (191.02) $          (47.76) $         (47.76) $         (47.76) $         (47.76)   $       (191.02)        -$47.76             -$47.76            -$47.76            -$47.76       $       (191.02)         -$47.76            -$47.76
        -956.94          -956.94                    720005 Taxes & Licenses $                 (239.24) $        (239.24) $         (239.24) $         (239.24)   $       (956.94) $         (239.24) $        (239.24) $        (239.24) $        (239.24)   $       (956.94)       -$239.24            -$239.24           -$239.24           -$239.24       $       (956.94)        -$239.24           -$239.24
       -9,561.67        -2,000.00                        720006 Office rent $                 (500.00) $        (500.00) $         (500.00) $         (500.00)   $     (2,000.00) $         (500.00) $        (500.00) $        (500.00) $        (500.00)   $     (2,000.00)       -$500.00            -$500.00           -$500.00           -$500.00       $     (2,000.00)        -$500.00           -$500.00
        -507.87           -400                        720007 Office Utilities $               (100.00) $        (100.00) $         (100.00) $         (100.00)   $       (400.00) $         (100.00) $        (100.00) $        (100.00) $        (100.00)   $       (400.00)       -$100.00            -$100.00           -$100.00           -$100.00       $       (400.00)        -$100.00           -$100.00
        -763.98           -2083                            720009 Insurance $                 (520.83) $        (520.83) $         (520.83) $         (520.83)   $     (2,083.33) $         (520.83) $        (520.83) $        (520.83) $        (520.83)   $     (2,083.33)       -$520.83            -$520.83           -$520.83           -$520.83       $     (2,083.33)        -$520.83           -$520.83
        -81.69            -100                              720010 Shipping $                  (25.00) $         (25.00) $          (25.00) $          (25.00)   $       (100.00) $          (25.00) $         (25.00) $         (25.00) $         (25.00)   $       (100.00)        -$25.00             -$25.00            -$25.00            -$25.00       $       (100.00)         -$25.00            -$25.00
        -288.82           -1000              720011 Meals & Entertainment $                   (250.00) $        (250.00) $         (250.00) $         (250.00)   $     (1,000.00) $         (250.00) $        (250.00) $        (250.00) $        (250.00)   $     (1,000.00)       -$250.00            -$250.00           -$250.00           -$250.00       $     (1,000.00)        -$250.00           -$250.00
          -10             -1000                        Bank Charges & Fees $                  (250.00) $        (250.00) $         (250.00) $         (250.00)   $     (1,000.00) $         (250.00) $        (250.00) $        (250.00) $        (250.00)   $     (1,000.00)       -$250.00            -$250.00           -$250.00           -$250.00       $     (1,000.00)        -$250.00           -$250.00
          0                 0                                   Justworks_A $                    -      $              -   $              -   $              -   $              -   $              -   $          -     $              -   $          -      $              -         $0.00               $0.00              $0.00              $0.00        $              -          $0.00              $0.00
       -8,066.54                                    Reimbursable Expenses $                      -      $              -   $              -   $              -   $              -   $              -   $          -     $              -   $          -      $              -         $0.00               $0.00              $0.00              $0.00        $              -          $0.00              $0.00
      -$8,066.54                                          Total Justworks_A $                    -      $              -   $              -   $              -   $              -   $              -   $          -     $              -   $          -      $              -         $0.00               $0.00              $0.00              $0.00        $              -          $0.00              $0.00
                                                         One Time Exit Cost                                                                                      $              -                                                                            $              -                                                                                $              -


                                                           Total Cash Uses $             (15,196.87) $       (15,196.87) $      (15,196.87) $      (15,196.87)   $    (60,787.48) $      (15,196.87) $     (15,196.87) $     (15,196.87) $     (15,196.87)   $    (60,787.48) $       (15,196.87) $      (15,196.87) $      (15,196.87) $      (15,196.87)   $    (60,787.48) $       (15,196.87) $      (15,196.87)   $ (30,393.74) $         (212,756.19)


                                                             Total Outflow $             (90,196.87) $       (90,196.87) $      (90,196.87) $      (90,196.87)   $ (360,787.48) $        (90,196.87) $     (90,196.87) $     (90,196.87) $     (90,196.87)   $ (360,787.48) $         (90,196.87) $      (90,196.87) $      (90,196.87) $      (90,196.87)   $ (360,787.48) $         (90,196.87) $      (90,196.87)   $ (180,393.74) $       (1,262,756.19)
                                                              Net Cash Flow
                                                                                 $        20,557.57     $     39,307.57    $    (83,308.43) $       38,907.57    $     15,464.29    $     26,807.57    $    39,307.57   $    (84,408.43) $      36,307.57    $    18,014.29     $      26,407.57   $      38,307.57   $     (83,008.43) $       37,707.57    $    19,414.29     $      26,407.57   $      38,307.57    $ 64,715.15     $        117,608.02
                                                                                                                                                                                                                                                                                                                                                                                                                                                $0
                                                             POST PETITION                                                                                                                                                                                                                                                                                                                                                                      $0
outs (sales brands made in our stores and belong to them) - Retain Customers                                                   -$30,000                              -$30,000                                               -$30,000                             -$30,000                                                  -$30,000                              -$30,000                                                -$30,000            -$120,000
                                     Owed Commissions - Retain Employees                                                       -$50,000                              -$50,000                                                                                      $0                                                                                              $0                                                       $0               -$50,000
        Accommodate brands moving from cliosing stores - Retain Customers                                                      -$50,000           -$50,000           -$100,000          -$50,000                                                                 -$50,000                                                                                          $0                                                       $0               -$150,000
                        Payment Plans with Critical vendros - Retain Vendors                                                                      -$5,000             -$5,000           -$5,000                             -$5,000                              -$10,000            -$5,000                               -$5,000                               -$10,000                                                -$10,000            -$35,000
                                                                         DIP          $70,000               $175,000                                                 $245,000           $40,000                             $40,000                              $80,000                                                   $40,000                               $40,000                                                 $40,000             $405,000

                                                                                 Margin of Error for
                                                                                 delays in Collection
                                                                                    / Unexpected
                                                                                                                                                                                                                                                                                                                                                                                                                                                 0
                                                        Net Cash Flow + DIP $             90,557.57     $    214,307.57    $   (213,308.43) $      (16,092.43)   $     75,464.29    $     11,807.57    $    39,307.57   $    (79,408.43) $      36,307.57    $      8,014.29    $      26,407.57   $      38,307.57   $     (43,008.43) $       37,707.57    $    29,414.29     $      26,407.57   $      38,307.57    $ 74,715.15     $        187,608.02
                                                  Beginning Cash Position                     $50,000          $140,558           $354,865           $141,557                              $125,464          $137,272          $176,579           $97,171                               $133,479 $       159,886.15   $     198,193.73   $     155,185.30                                          $      26,407.57
                                                    Ending Cash Position                   $140,558            $354,865           $141,557           $125,464                              $137,272          $176,579           $97,171          $133,479                       $    159,886.15    $     198,193.73   $     155,185.30   $     192,892.87                       $      26,407.57   $      64,715.15
    Case 1-23-43643-jmm   Doc 79-3   Filed 11/24/23   Entered 11/24/23 03:35:58




                                     EXHIBIT F



Not applicable.
                                      Case 1-23-43643-jmm     Doc 79-3            Filed 11/24/23       Entered 11/24/23 03:35:58



                                                                         Showfields, Inc
                                                                          Unpaid Bills
                                                                                  Exhibit E

         Vendor                                Purpose         Date             Transaction Type              Num       Department    Due Date        Amount
Avidxchange, Inc             AP software
                                                            10/31/2023   Bill                      40900927                          11/30/2023          130.65
Total for Avidxchange, Inc                                                                                                                        $      130.65
BDG-CPAs                     External auditors
                                                            10/31/2023   Bill                      1023170                           11/30/2023        14,500.00
Total for BDG-CPAs                                                                                                                                $    14,500.00
Doreen Edri                  1099 contractor
                                                            10/15/2023   Bill                      N°2023-10-01                      11/14/2023         1,692.71
                                                            10/31/2023   Bill                      N°2023-10-02                      11/30/2023         1,692.71
Total for Doreen Edri                                                                                                                             $     3,385.42
SoftwareHut LLC              Software IT
                                                            10/31/2023   Bill                      SHOW10-001_23                     11/30/2023         3,976.50
Total for SoftwareHut LLC                                                                                                                         $     3,976.50
TOTAL                                                                                                                                             $    21,992.57
                                                               Case 1-23-43643-jmm          Doc 79-3     Filed 11/24/23       Entered 11/24/23 03:35:58


                                                                                                 Showfields, Inc
                                                                                              Profit and Loss by Month
                                                                                                 January - October, 2023


                                               JAN 2023        FEB 2023         MAR 2023        APR 2023         MAY 2023           JUN 2023        JUL 2023       AUG 2023         SEP 2023       OCT 2023             TOTAL
Income
 500010 Other Income                                           2,103.27                                                               604.11                                                                         $2,707.38
Total Income                                      $0.00       $2,103.27            $0.00            $0.00            $0.00           $604.11           $0.00           $0.00           $0.00           $0.00         $2,707.38
Cost of Goods Sold
 640005 Event Expense                                          2,125.00            23.47                            759.73            110.00                                                                         $3,018.20
Total Cost of Goods Sold                          $0.00       $2,125.00           $23.47            $0.00          $759.73           $110.00           $0.00           $0.00           $0.00           $0.00         $3,018.20
GROSS PROFIT                                      $0.00         $ -21.73         $ -23.47           $0.00         $ -759.73          $494.11           $0.00           $0.00           $0.00           $0.00         $ -310.82
Expenses
 700000 Payroll                                                                                                                                                                                                          $0.00
  700001 Salary                              412,530.54      432,522.17      445,088.34        475,108.72       434,744.72        287,613.23      238,335.37      271,335.69      252,854.62      220,113.46     $3,470,246.86
  700002 Payroll tax                          53,259.32       45,449.20         42,069.47       38,838.99        36,956.76          9,115.14       18,076.97       20,745.38       18,339.75       21,877.03       $304,728.01
  700003 Employer benefits contributions      21,943.65       30,387.90         29,483.86       29,836.26        31,330.98         26,045.90       17,886.26       24,531.89       20,663.37       16,762.33       $248,872.40
  700004 Payroll fees                          6,646.36        7,428.53          7,516.13        7,166.36         7,156.26          5,972.72        4,755.53        5,347.68        4,289.93        6,950.61        $63,230.11
  700005 Commission                           35,805.70       35,805.70         52,882.62       27,529.52        27,529.52         62,143.54        7,772.40        7,772.40       22,852.74        2,975.00       $283,069.14
 Total 700000 Payroll                        530,185.57      551,593.50      577,040.42        578,479.85       537,718.24        390,890.53      286,826.53      329,733.04      319,000.41      268,678.43     $4,370,146.52
 710000 Professional Services                                                                                                                                                                                            $0.00
  710001 Legal                                24,461.18        4,271.20          4,271.20        5,172.20         4,601.70        106,752.30       15,740.00       14,277.75       25,438.00        3,500.00       $208,485.53
  710002 Accounting & Audit                    9,500.00                         12,000.00                                                                                                          14,500.00        $36,000.00
  710003 PR                                                    3,842.93          2,960.38                           560.00         20,000.00                                       10,000.00          725.00        $38,088.31
  710004 Consultents                           5,670.00        5,670.00         17,895.00        6,125.00         8,937.50          -6,477.00                                                                       $37,820.50
 Total 710000 Professional Services           39,631.18       13,784.13         37,126.58       11,297.20        14,099.20        120,275.30       15,740.00       14,277.75       35,438.00       18,725.00       $320,394.34
 720000 Advertising                           11,430.31       17,092.29          7,135.06       14,583.50           797.13             15.56                                                                        $51,053.85
 720001 Travel                                 4,126.88       15,368.44          2,224.84        2,375.18         1,876.54          5,288.36                                        2,895.00        5,440.72        $39,595.96
 720002 Bank fees                              -2,891.87         947.90           969.79         6,626.93         2,375.05          1,705.08        1,296.35        1,088.62        -2,234.12       1,716.82        $11,600.55
 720003 Software / IT                         61,248.32       39,248.49         59,826.52       30,054.57        15,980.40         26,326.66       21,663.02       15,796.16       19,345.77       21,243.23       $310,733.14
 720004 Office Supplies                          666.81        1,311.50           560.36           233.60                             905.99           16.64                                                         $3,694.90
 720005 Taxes & Licenses                       -3,325.25          83.89          1,807.81        1,063.00                           3,313.12          129.00        5,525.00          803.00                         $9,399.57
 720006 Office rent                            7,895.00        7,895.00          7,895.00        7,895.00         7,895.00          7,895.00        8,550.00        7,895.00                                        $63,815.00
 720007 Office Utilities                         454.20          307.56           349.49           727.91           446.22            197.97          197.97                          443.90                         $3,125.22
 720008 Repairs & Main.                                                           347.75                                                                                                                               $347.75
 720009 Insurance                                537.04          537.04           763.98           763.98           763.98          1,546.14        2,328.31        2,328.31        1,564.33        1,564.33        $12,697.44
 720010 Shipping                                                  26.28           136.61            37.42           350.45            252.99            7.19                                          167.58           $978.52
 720011 Meals & Entertainment                  1,609.39          305.84          2,982.43           91.22           300.29          1,526.09                                                                         $6,815.26
 800000 Depreciation                             598.56          591.43           627.00           627.00           627.00            639.93          649.29          649.29          649.29          649.29         $6,308.08
 910002 Other Misc.                            2,049.95          983.84                                                                                                                               113.39         $3,147.18
 Justworks_A                                                                                                                                                                                                             $0.00
  Reimbursable Expenses                        -1,955.00      14,459.32         11,059.65        -7,688.73      -17,524.90          7,301.58        9,100.00        -5,373.45       4,913.86                        $14,292.33
 Total Justworks_A                             -1,955.00      14,459.32         11,059.65        -7,688.73      -17,524.90          7,301.58        9,100.00        -5,373.45       4,913.86                        $14,292.33
 Uncategorized Expense                         6,212.46       10,833.07          2,598.39          199.83                                                                                                           $19,843.75
Total Expenses                              $658,473.55     $675,369.52     $713,451.68       $647,367.46      $565,704.60       $568,080.30     $346,504.30     $371,919.72     $382,819.44     $318,298.79     $5,247,989.36
NET OPERATING INCOME                       $ -658,473.55   $ -675,391.25   $ -713,475.15     $ -647,367.46    $ -566,464.33     $ -567,586.19   $ -346,504.30   $ -371,919.72   $ -382,819.44   $ -318,298.79   $ -5,248,300.18
Other Expenses
 800001 Amortization                              78.61           78.61            78.61            78.61            78.61             78.61           78.61           78.61           78.61           78.61           $786.10
 Reconciliation Discrepancies                                                       -0.06                                                                                                                               $ -0.06
Total Other Expenses                             $78.61          $78.61           $78.55           $78.61           $78.61            $78.61          $78.61          $78.61          $78.61          $78.61           $786.04
NET OTHER INCOME                                $ -78.61        $ -78.61         $ -78.55         $ -78.61         $ -78.61          $ -78.61        $ -78.61        $ -78.61        $ -78.61        $ -78.61        $ -786.04
NET INCOME                                 $ -658,552.16   $ -675,469.86   $ -713,553.70     $ -647,446.07    $ -566,542.94     $ -567,664.80   $ -346,582.91   $ -371,998.33   $ -382,898.05   $ -318,377.40   $ -5,249,086.22




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Case 1-23-43643-jmm   Doc 79-3   Filed 11/24/23   Entered 11/24/23 03:35:58
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